Case 8:21-cv-00814-VMC-TGW Document 74 Filed 09/15/21 Page 1 of 5 PageID 316




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   M. H. and J.H.,
   on behalf of their minor child,
   C.H.,

               Plaintiff,
   v.                                    Case No. 8:21-cv-814-VMC-TGW

   OMEGLE.COM LLC,

             Defendant.
   ____________________________/

                                   ORDER

         This matter comes before the Court sua sponte. For the

   reasons set forth below, the amended complaint (Doc. # 48) is

   dismissed as a shotgun pleading and the Motion to Dismiss the

   Amended Complaint (Doc. # 61) is denied as moot.

   I.    Background

         Plaintiffs M. H. and J.H. initiated this action on behalf

   of their minor child C.H. on August 25, 2020. (Doc. # 1).

   After the case was transferred to this Court, Plaintiffs filed

   an   amended   complaint    against     Defendant   Omegle.com   LLC,

   asserting claims for: violation of 18 U.S.C. § 2255(a) (Count

   I), violation of 18 U.S.C. §§ 1591 and 1595 (Count II),

   violation of the Video Privacy Protection Act (Count III),

   intrusion upon seclusion (Count IV), negligence (Count V),

   intentional infliction of emotional distress (Count VI),


                                     1
Case 8:21-cv-00814-VMC-TGW Document 74 Filed 09/15/21 Page 2 of 5 PageID 317




   ratification/vicarious     liability    (Count   VII),   and   public

   nuisance (Count VIII). (Doc. # 48). The central allegation of

   the amended complaint is that Omegele, a “website that enables

   individuals to communicate with random individuals across the

   world anonymously via text and video,” knew of and profited

   from its website used by child predators to exploit children,

   including Plaintiffs’ minor child. (Id. at 2-16).

         Omegele has moved to dismiss the amended complaint on

   the merits. (Doc. # 61). However, because the Court determines

   that the amended complaint is a shotgun complaint, the amended

   complaint must be dismissed on that basis with leave to amend.

   II.   Discussion

         The Court has an independent obligation to dismiss a

   shotgun pleading. “If, in the face of a shotgun complaint,

   the defendant does not move the district court to require a

   more definite statement, the court, in the exercise of its

   inherent   power,   must   intervene    sua   sponte   and   order   a

   repleader.” McWhorter v. Miller, Einhouse, Rymer & Boyd,

   Inc., No. 6:08-cv-1978-GAP-KRS, 2009 WL 92846, at *2 (M.D.

   Fla. Jan. 14, 2009) (emphasis omitted).

         The Eleventh Circuit has “identified four rough types or

   categories of shotgun pleadings”: (1) “a complaint containing

   multiple counts where each count adopts the allegations of


                                     2
Case 8:21-cv-00814-VMC-TGW Document 74 Filed 09/15/21 Page 3 of 5 PageID 318




   all preceding counts”; (2) a complaint that is “replete with

   conclusory,        vague,     and    immaterial       facts   not    obviously

   connected to any particular cause of action”; (3) a complaint

   that does “not separat[e] into a different count each cause

   of action or claim for relief”; and (4) a complaint that

   “assert[s]     multiple        claims       against    multiple     defendants

   without specifying which of the defendants are responsible

   for which acts or omissions, or which of the defendants the

   claim   is    brought       against.”   Weiland       v.   Palm   Beach   Cnty.

   Sheriff’s Off., 792 F.3d 1313, 1322-23 (11th Cir. 2015). “The

   unifying characteristic of all types of shotgun pleadings is

   that they fail to . . . give the defendants adequate notice

   of the claims against them and the grounds upon which each

   claim rests.” Id. at 1323.

         Here,    the    amended       complaint    is    a   shotgun   pleading

   because it falls within the first category identified in

   Weiland. Counts II, III, IV, V, VI, VII, and VIII roll many

   if   not     all     of     the     preceding     allegations,       including

   allegations contained in previous counts, into each count.

   (Doc. # 48 at ¶¶ 76, 86, 94, 103, 115, 123, 128). For example,

   Count VIII incorporates all the preceding paragraphs of the

   amended complaint, including the prior seven counts. (Id. at

   ¶ 128). This is impermissible. See Weiland, 792 F.3d at 1322


                                           3
Case 8:21-cv-00814-VMC-TGW Document 74 Filed 09/15/21 Page 4 of 5 PageID 319




   (identifying “a complaint containing multiple counts where

   each count adopts the allegations of all preceding counts” as

   a shotgun complaint).

         Accordingly, the complaint is dismissed as a shotgun

   pleading. See Arrington v. Green, 757 F. App’x 796, 797 (11th

   Cir. 2018) (per curiam) (affirming the district court’s sua

   sponte dismissal of a shotgun pleading). However, the Court

   grants leave to amend. See Madak v. Nocco, No. 8:18-cv-2665-

   VMC-AEP, 2018 WL 6472337, at *3 (M.D. Fla. Dec. 10, 2018)

   (“Because the [complaint] is a shotgun complaint, repleader

   is necessary[.]”).

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

   (1)   The amended complaint (Doc. # 48) is sua sponte DISMISSED

         as a shotgun pleading.

   (2)   Plaintiffs may file a second amended complaint that is

         not a shotgun pleading by September 29, 2021.

   (3)   As the Court has dismissed the amended complaint as a

         shotgun pleading, Defendant Omegle.com LLC’s Motion to

         Dismiss the Amended Complaint (Doc. # 61) is DENIED as

         moot.

         DONE and ORDERED in Chambers, in Tampa, Florida, this

   15th day of September, 2021.


                                     4
Case 8:21-cv-00814-VMC-TGW Document 74 Filed 09/15/21 Page 5 of 5 PageID 320




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